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                                                     IN THE UNITED STATES DISTRICT COURT
                                                        WESTERN DISTRICT OF ARKANSAS
                                                             HOT SPRINGS DIVISION


                 UNITED STATES OF AMERICA                                                                            PLAINTIFF/RESPONDENT

                                      v.                              Civil No. 06-6001
                                                                 Criminal No. 6:99cr60003-001

                 DANNY WASHINGTON                                                                                        DEFENDANT/MOVANT


                                                                 MEMORANDUM OPINION

                 Procedural Background:

                           Movant, Danny Washington,1 has filed a motion to vacate, set aside or correct sentence pursuant

                 to 28 U.S. C. § 2255.2 (Doc. #249) Movant proceeds pro se. The motion was served on the United

                 States and the United States filed a response on February 21, 2006. (Doc. #256) Pursuant to the consent

                 of the parties, by order entered on March 2, 2006, this matter was referred to the undersigned for the

                 conducting of all proceedings, including the entry of judgment, pursuant to 28 U.S.C. § 636(c) and Rule

                 73, Federal Rules of Civil Procedure. (Doc. #258)

                           On February 7, 2000, a jury convicted Washington and his wife, Charlotte Washington, of five

                 counts of mail fraud under 18 U.S.C. § 1341. (Doc. #133) On October 12, 2000, a judgment was

                 entered sentencing each of the Washingtons to a total of 87 months imprisonment, three years of

                 supervised release and requiring them to pay $817,885.83 in restitution. (Doc. #167) The convictions

                 were affirmed on direct appeal on July 2, 2001. However, Charlotte Washington’s sentence was vacated

                 because she was not afforded the right of allocution and the matter was remanded for re-sentencing.

                           1
                             At the time of the filing of the subject motion, Movant was an inmate in the FCI - Texarkana. However, on May 19, 2006, Movant
                 was released from the custody of the Federal Bureau of Prisons and he is now on supervised release. Movant has filed a notice of change of
                 address in this proceeding, reflecting an address of 3047 Strong Highway, El Dorado, Arkansas.

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                            Although the pleading is styled “Memorandum in Support of § 2255 petition,” it is in fact a motion to vacate, set aside or correct
                 sentence pursuant to 28 U.S.C. § 2255 rather than a brief in support of the same and the pleading is, therefor, construed as such a § 2255
                 motion.




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                 United States v. Washington, 255 F.3d 483 (8th Cir. 2001).

                         The United States Court of Appeals for the Eighth Circuit summarized the evidence presented

                 against Washington and his wife:

                         In this case, there was evidence that the Washingtons analyzed tax rolls to find out-of-
                         state land owners because they would not check up on their land frequently or at all.
                         The Washingtons then clear cut the land and paid the landowners a small fraction of the
                         lumber’s true value. This scheme was accomplished by Charlotte telephoning each
                         victim and gaining their trust though (sic) lengthy and numerous high pressure
                         conversations. From these conversations, Charlotte easily acquired knowledge of the
                         person’s age, infirmities, and vulnerabilities. While many of the victims were educated
                         individuals, none of them had any dealings in the logging industry. It was further
                         established that Charlotte discovered and the Washingtons targeted elderly victims who
                         were in desperate need for money.

                 United States v. Washington, 255 F.3d at 486.

                         This is Washington’s second § 2255 motion. His first motion was filed on May 16, 2002. (Doc.

                 #224) In that motion, Washington claimed that there were sentencing errors and that he received the

                 ineffective assistance of counsel. After review, on October 16, 2002, the undersigned found that

                 Washington did receive the ineffective assistance of counsel at sentencing by virtue of counsel’s failure

                 to assert Washington’s right of allocution and re-sentencing was recommended.              (Doc. #240)

                 Washington immediately filed a motion to “withdraw” his § 2255 motion. (Doc. #243) That motion was

                 granted by this court on November 4, 2002, and Washington’s § 2255 motion was denied as moot.

                 (Doc. #244)

                         The pending motion was filed on January 12, 2006. (Doc. #249)

                 Discussion:

                         We find that Washington’s motion is without merit and is subject to summary dismissal on two

                 separate grounds. As noted above, this is the second § 2255 motion, attacking his sentences, filed by

                 Washington. Accordingly, this court lacks jurisdiction to consider the pending § 2255 motion absent


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                 authorization from the United States Court of Appeals for the Eighth Circuit. See 28 U.S.C. § 2255

                 (movant must obtain leave from the appropriate court of appeals authorizing the district court to consider

                 a second or successive § 2255 application); Rodgers v. United States, 229 F.3d 704, 705 (8th Cir.

                 2000)(A second or successive motion must be certified as provided in section 2244 by a panel of the

                 appropriate court of appeals); Nunez v. United States, 96 F.3d 990, 991 (7th Cir. 1996)(Only the Court

                 of Appeals may authorize commencement of a second or successive petition); Wainwright v. Norris, 958

                 F.Supp. 426, 431 (E.D. Ark 1996) (citing Nunez).

                         As this court lacks jurisdiction to consider Movant’s pending second §2255 motion

                 absent authorization from the Court of Appeals, this court may take no further action in this matter

                 pending a decision of the Court of Appeals and the pending motion is subject to dismissal. United

                 States v. Avila-Avila, 132 F.2d 1347, 1348-49 (10th Cir. 1997) (district court lacks jurisdiction to

                 consider a successive petition absent authorization from the appropriate court of appeals).

                         In the alternative, Washington’s motion is also barred by limitations. § 2255 provides for a one

                 year limitation period with respect to the filing of motions under that section:

                         A 1-year period of limitation shall apply to a motion under this section. The limitation
                         period shall run from the latest of -

                                 (1) the date on which the judgment of conviction becomes final;

                                 (2) the date on which the impediment to making a motion created
                                     by governmental action in violation of the Constitution or
                                     laws of the United States is removed, if the movant was
                                     prevented from making a motion by such governmental action;

                                 (3) the date on which the right asserted was initially recognized by
                                     the Supreme Court, if that right has been newly recognized by
                                     the Supreme Court and made retroactively applicable to cases
                                     on collateral review; or

                                 (4) the date on which the facts supporting the claim or claims
                                     presented could have been discovered through the exercise of

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                                      due diligence.

                 Antiterrorism and Effective Death Penalty Act (AEDPA) of 1996, Pub. L. No. 104-132, 110 Stat. 1220,

                 28 U.S.C. § 2255.

                         Since Washington’s convictions and sentence were affirmed on direct appeal, the judgment of

                 conviction in this case became final for the purpose of calculating the one-year period for the filing of

                 a § 2255 motion when the time expired for the filing of a petition for certiorari to the Supreme Court.

                 Clay v. United States, 537 U.S. 522, 532 (2003)(for federal criminal defendants who do not file a

                 petition for certiorari with this Court contesting the appellate court’s affirmation of the conviction, §

                 2255's one-year limitation period starts to run when the time for seeking such review expires).

                         A petition for writ of certiorari to review the judgment of the court of appeals must be filed with

                 the Clerk of the Supreme Court within 90 days of the entry of the judgment of the court of appeals. Rule

                 13, Rules of the Supreme Court of the United States. The judgement of the court of appeals affirming

                 Washington’s conviction and sentence was entered on August 6, 2001. (Doc. #197) Accordingly,

                 Washington had until November 4, 2001, to file a petition for writ of certiorari. He did not file such a

                 petition. Accordingly, the judgment became final for purposes of § 2255 on November 4, 2001. Absent

                 the existence of circumstances identified in § 2255 which might toll the running of the one-year

                 limitations period, Washington had one-year from November 4, 2001, or until November 4, 2002, to file

                 his § 2255 motion. Washington filed a § 2255 motion on May 16, 2002. (Doc. #224) This motion was

                 dismissed on Washington’s own motion, without prejudice on October 22, 2002. (Doc. #242).

                         Washington’s pending motion was filed on January 12, 2006 (Doc. #249), over four years after

                 the date the limitations period of § 2255 began to run, November 4, 2001. Even if the May 16, 2002

                 motion is viewed as tolling the running of the limitations period, that tolling effect ended on October

                 22, 2002, the date the motion was dismissed at Washington’s request. Even under this circumstance,

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                 Washington’s currently pending motion was filed over three years after the limitations period of § 2255

                 began to run.

                         In an addendum to petition filed on May 22, 2006 (Doc. #263), Washington asserts that his

                 failure to seek relief pursuant to § 2255 within the one-year period prescribed by the statute should be

                 excused because he relies upon a right newly recognized by the Supreme Court of the United States and

                 retroactively applicable to cases on collateral review. 28 U.S.C. § 2255. He asserts that authorities upon

                 which he relies were not available within that one-year period. He specifically refers to: Apprendi v.

                 New Jersey, 530 U.S. 466 (2000); United States v. Booker, 543 U.S. 220 (2005); and, Blakely v.

                 Washington, 542 U.S. 296 (2004).

                         Apprendi was decided on June 26, 2000, and established the proposition that “[o]ther than the

                 fact of a prior conviction, any fact that increases the penalty for a crime beyond the prescribed statutory

                 maximum must be submitted to a jury, and proved beyond a reasonable doubt.” Apprendi, 542 U.S. at

                 490. Blakely was decided on June 24, 2004. In Blakely, the Supreme Court, in considering a

                 determinate sentencing scheme similar to the Federal Sentencing Guidelines, reiterated that “the

                 ‘statutory maximum’ for Apprendi purposes is the maximum sentence a judge may impose solely on the

                 basis of the facts reflected in the jury verdict or admitted by the defendant.” Blakely, 542 U.S. at 303.

                  Booker was decided by the Supreme Court on January 12, 2005. In Booker, the court ruled that the

                 statutory provision making the Sentencing Guidelines mandatory is unconstitutional and that the

                 Guidelines are advisory only. Id. at 233-37, 245, 258-59. Further, the court held that Apprendi and

                 Blakely apply to the Federal Sentencing Guidelines. Id. at 243-44; see also United States v. Corral, 362

                 F.Supp. 1143, 1146 (D. North Dakota 2005)(Booker holds that “... the Sixth Amendment is violated by

                 the imposition of an enhanced sentence under the Sentencing Guidelines based on a judge’s

                 determination of fact, other than a prior conviction, that was not found by a jury or admitted by the

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                 defendant.”) .

                         Washington was sentenced on October 12, 2000, and his conviction and sentence were affirmed

                 by the Court of Appeals on July 2, 2001, well after the date that Apprendi was decided. Accordingly,

                 Washington cannot credibly assert that this authority was not available to him or that Apprendi

                 announced a “newly recognized” right with respect to him. 28 U.S.C. §2255.             W a s h i n gt o n ’s

                 conviction did become final prior to the dates that the Blakely and Booker decisions were announced.

                 Washington asserts that this fact excuses his failure to file his pending motion within the one-year

                 limitations period. He contends that the one-year limitations period of § 2255, as to his Blakely and

                 Booker claims, should begin to run from the date of the Booker decision and that the holding of Booker

                 should be retroactively applied to his case.

                         This contention must be rejected as the United States Court of Appeals for the Eighth Circuit

                 has definitively held that Booker does not have retroactive application. See Lenford Never Misses a

                 Shot v. United States, 413 F.3d 781, 783-84 (8th Cir. 2005)(Booker did not announce a new procedural

                 rule of watershed importance and does not apply to criminal convictions that became final before the

                 rule was announced). Further, it has also been determined that Blakely does not have retroactive

                 application. See United States v. Hernandez, 436 F.3d 851, 855 (8th Cir. 2006)(Blakely and Booker do

                 not apply retroactively to cases on collateral review)(citing Lenford Never Misses a Shot, 413 F.3d at

                 783).

                         Washington has not asserted that any impediment created by government action existed to the

                 filing of his § 2255 motion, nor does he allege that the facts supporting his claims could not have been

                 discovered through the exercise of due diligence. 28 U.S.C. § 2255. Accordingly, his pending claims

                 are without merit.

                         Rule 8(a) of the Rules Governing Section 2255 Proceedings for the United States District

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                 Courts provides that:

                        If the motion has not been dismissed at a previous stage in the proceeding, the judge,
                        after the answer is filed and any transcripts or records of prior court actions in the matter
                        are in his possession, shall, upon a review of those proceedings and of the expanded
                        record, if any, determine whether an evidentiary hearing is required. If it appears that
                        an evidentiary hearing is not required, the judge shall make such disposition of the
                        motion as justice dictates.

                 For the reasons set forth above, it is determined that no evidentiary hearing is required and that the

                 pending § 2255 motion should be dismissed as successive or in the alternative, untimely filed.

                 Conclusion:

                        Therefore, it is found that this court lacks jurisdiction to consider the pending second and

                 successive § 2255 motion absent authorization from the United States Court of Appeals for the Eighth

                 Circuit. Further, in the alternative, it is found that Washington’s pending claims are barred by the

                 limitations provision of 28 U.S.C. § 2255. Accordingly, the motion should be dismissed.

                        DATED this 16th day of June 2006.




                                                                             /s/ Bobby E. Shepherd
                                                                             HON. BOBBY E. SHEPHERD
                                                                             UNITED STATES MAGISTRATE JUDGE




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